                               UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MICHIGAN


       In re: IOTT, KEVIN ROLAND                                     §   Case No. 09-48174-MBM
              IOTT, LAURA SUE                                        §
                                                                     §
   Debtor(s)                                                         §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

          Timothy J. Miller, chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $270,165.00                         Assets Exempt: $25,166.00
 (without deducting any secured claims)
 Total Distribution to Claimants: $0.00               Claims Discharged
                                                      Without Payment: $1,545,659.34

 Total Expenses of Administration: $1,499.19


         3) Total gross receipts of $     1,500.19 (see Exhibit 1 ), minus funds paid to the debtor
and third parties of $       1.00     (see Exhibit 2 ), yielded net receipts of $1,499.19
from the liquidation of the property of the estate, which was distributed as follows:




UST Form 101-7-TDR (10/1/2010)


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                                        CLAIMS             CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED           ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                       $329,568.00         $59,976.06              $0.00             $0.00
 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                          0.00           1,817.66           1,817.66          1,499.19

   PRIOR CHAPTER
   ADMIN. FFES AND
   CHARGES (fromExhibit 5)                     0.00               0.00               0.00              0.00
   PRIORITY UNSECURED
   CLAIMS (fromExhibit 6 )                     0.00               0.00               0.00              0.00
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                1,557,870.26         125,035.45        125,035.45               0.00
                                      $1,887,438.26        $186,829.17       $126,853.11          $1,499.19
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on March 19, 2009.
  The case was pending for 36 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 03/23/2012                 By: /s/Timothy J. Miller
                                                  Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                                                EXHIBITS TO
                                                              FINAL ACCOUNT



EXHIBIT 1            GROSS RECEIPTS

                                                                                         UNIFORM                              $ AMOUNT
               DESCRIPTION
                                                                                        TRAN. CODE 1                          RECEIVED
     33% - Posey Lake Estates, LLC                                                     1129-000                                1,500.00

     Interest Income                                                                   1270-000                                    0.19


    TOTAL GROSS RECEIPTS                                                                                                      $1,500.19

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2            FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                         UNIFORM                              $ AMOUNT
        PAYEE                                     DESCRIPTION                           TRAN. CODE                               PAID
 Bankruptcy Estate of Benjamin                   Amount owed to estate from
 & Cynthia LaRocca                               Fifth Third p/o 12/4/09               8500-002                                1,500.00

 Bankruptcy Estate of Randal &                   amount owed to estate from
 Kimberly LaRocca                                Fifth Third p/o 12/4/09               8500-002                                1,500.00

 Randel La Rocca                                 Funds Transferred to Randel
                                                 LaRocca p/o 12/4/09                   8500-002                               -1,500.00

 Fifth Third Bank                                Transfer of fund to Benjamin
                                                 LaRocca p/o 12/4.2009                 8500-002                               -1,500.00

 Kevin and Laura Iott                            Dividend paid 100.00% on
                                                 $1.00; Claim# 10; Filed:
                                                 $1.00; Reference:                     8100-000                                    1.00

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                          $1.00
    PARTIES

EXHIBIT 3            SECURED CLAIMS


                                                     UNIFORM          CLAIMS
       CLAIM                                                         SCHEDULED               CLAIMS               CLAIMS           CLAIMS
        NO.               CLAIMANT                    TRAN.           (from Form            ASSERTED             ALLOWED            PAID
                                                      CODE                6D)
           4     Monroe Bank & Trust                  4110-000             59,840.00           59,976.06               0.00               0.00

 NOTFILED        John Deere Credit                    4110-000             12,671.00            N/A                   N/A                 0.00

 NOTFILED        Greenstone FCS                       4110-000           235,057.00             N/A                   N/A                 0.00

 NOTFILED        GMAC                                 4110-000             22,000.00            N/A                   N/A                 0.00


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 TOTAL SECURED CLAIMS                                  $329,568.00       $59,976.06         $0.00            $0.00



EXHIBIT 4     CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                    UNIFORM
    PAYEE                                          CLAIMS              CLAIMS            CLAIMS      CLAIMS
                                     TRAN.
                                                  SCHEDULED           ASSERTED          ALLOWED       PAID
                                     CODE
 Timothy J. Miller                   2100-000           N/A                   375.05        375.05          297.99

 Timothy J. Miller                   2200-000           N/A                     85.00        85.00           67.54

 Schneider Miller, P.C.              3110-000           N/A                 1,000.00      1,000.00          794.54

 Schneider Miller, P.C.              3120-000           N/A                     90.00        90.00           71.51

 Luzod Reporting Service             3992-000           N/A                     70.00        70.00           70.00

 Luzod Reporting Service             3991-000           N/A                     70.00        70.00           70.00

 The Bank of New York Mellon         2600-000           N/A                      2.61         2.61            2.61

 The Bank of New York Mellon         2600-000           N/A                     25.00        25.00           25.00

 The Bank of New York Mellon         2600-000           N/A                     25.00        25.00           25.00

 The Bank of New York Mellon         2600-000           N/A                     25.00        25.00           25.00

 The Bank of New York Mellon         2600-000           N/A                     25.00        25.00           25.00

 The Bank of New York Mellon         2600-000           N/A                     25.00        25.00           25.00

 TOTAL CHAPTER 7 ADMIN. FEES                            N/A                 1,817.66     1,817.66         1,499.19
 AND CHARGES


EXHIBIT 5     PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                    UNIFORM
    PAYEE                                          CLAIMS              CLAIMS            CLAIMS      CLAIMS
                                     TRAN.
                                                  SCHEDULED           ASSERTED          ALLOWED       PAID
                                     CODE
                                                None

 TOTAL PRIOR CHAPTER ADMIN.                             N/A                      0.00        0.00             0.00
 FEES AND CHARGES


EXHIBIT 6     PRIORITY UNSECURED CLAIMS


                                    UNIFORM        CLAIMS              CLAIMS
   CLAIM                                          SCHEDULED           ASSERTED           CLAIMS      CLAIMS
    NO.              CLAIMANT        TRAN.         (from Form        (from Proofs of    ALLOWED       PAID
                                     CODE              6E)                Claim)
                                                None

 TOTAL PRIORITY UNSECURED                                     0.00               0.00        0.00             0.00
 CLAIMS



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EXHIBIT 7      GENERAL UNSECURED CLAIMS


                                          UNIFORM      CLAIMS               CLAIMS
   CLAIM           CLAIMANT                TRAN.      SCHEDULED            ASSERTED          CLAIMS      CLAIMS
    NO.                                               (from Form          (from Proofs of   ALLOWED       PAID
                                           CODE           6F)                  Claim)
       1     American Infosource Lp As     7100-000        N/A                     291.76       291.76        0.00
             Agent for
       2     Consultants Lab               7100-000              225.37            225.37       225.37        0.00

       3     Chase Bank USA NA             7100-000         10,140.00          10,392.00     10,392.00        0.00

       5     Wettle, Brent and Heather     7100-000        100,000.00          87,500.00     87,500.00        0.00

       6     Capital Recovery III LLC      7100-000          3,470.00            3,495.91     3,495.91        0.00

       7 -2 WORLD'S FOREMOST BANK          7100-000         18,579.00          18,457.15     18,457.15        0.00

       8     Toledo Hospital               7100-000          4,206.00            3,969.40     3,969.40        0.00

       9     American Express Bank FSB     7200-000              626.00            703.86       703.86        0.00

 NOTFILED    Hudson Township               7100-000              271.90         N/A              N/A          0.00

 NOTFILED    Flower Hospital               7100-000              174.00         N/A              N/A          0.00

 NOTFILED    Key Equipment Finance Apex    7100-000         12,943.00           N/A              N/A          0.00
             Commercial, LLC
 NOTFILED    Lenawee County Treasurer      7100-000          2,606.21           N/A              N/A          0.00

 NOTFILED    King, Patrick Kerr, Roxanne 7100-000          100,000.00           N/A              N/A          0.00

 NOTFILED    Toledo Radiological           7100-000              672.00         N/A              N/A          0.00

 NOTFILED    Lenawee County Treasurer      7100-000          3,858.00           N/A              N/A          0.00

 NOTFILED    Fifth Third Bank c/o Laurie 7100-000     1,300,000.00              N/A              N/A          0.00
             J. Pangle
 NOTFILED    Consumers Energy            7100-000                 98.78         N/A              N/A          0.00

 TOTAL GENERAL UNSECURED                              1,557,870.26            125,035.45    125,035.45        0.00
 CLAIMS




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                                                                                                                                                                               Exhibit 8


                                                                                     Form 1                                                                                    Page: 1

                                              Individual Estate Property Record and Report
                                                               Asset Cases
Case Number: 09-48174-MBM                                                                     Trustee:          (420470)      Timothy J. Miller
Case Name:            IOTT, KEVIN ROLAND                                                      Filed (f) or Converted (c): 03/19/09 (f)
                      IOTT, LAURA SUE                                                         §341(a) Meeting Date:           05/13/09
Period Ending: 03/23/12                                                                       Claims Bar Date:                11/14/10

                                  1                                          2                            3                           4                5                   6

                     Asset Description                                   Petition/             Estimated Net Value                 Property        Sale/Funds         Asset Fully
          (Scheduled And Unscheduled (u) Property)                     Unscheduled        (Value Determined By Trustee,           Abandoned        Received by     Administered (FA)/
                                                                          Values             Less Liens, Exemptions,              OA=§554(a)        the Estate      Gross Value of
Ref. #                                                                                           and Other Costs)                 DA=§554(c)                       Remaining Assets

 1        5670 Sylvania, Petersburg, MI 49270                              245,000.00                              0.00             DA                      0.00                   FA

 2        Carribean Palm Village                                              3,000.00                             0.00             DA                      0.00                   FA

 3        Cash on hand                                                           200.00                            0.00             DA                      0.00                   FA

 4        United Bank & Trust, Dundee, MI                                        800.00                            0.00             DA                      0.00                   FA

 5        Misc. household items                                               1,600.00                             0.00             DA                      0.00                   FA

 6        General Items                                                          200.00                            0.00             DA                      0.00                   FA

 7        Costume jewelry, wedding rings, engagement ring,                       520.00                            0.00             DA                      0.00                   FA

 8        7mm digital camera                                                     400.00                            0.00             DA                      0.00                   FA

 9        33% - Posey Lake Estates, LLC (See Footnote)                             1.00                        1,500.00                                 1,500.00                   FA

10        Iott Tomato Farms, LLC (shut down) (See Footnote)                        1.00                        1,500.00             DA                      0.00                   FA

11        Coca Cola - 10 shares                                                  100.00                            0.00             DA                      0.00                   FA

12        EE Bonds (9 @ $50 bonds)                                               450.00                            0.00             DA                      0.00                   FA

13        Posey Lake Estates, LLC (See Footnote)                                   1.00                        1,500.00             DA                      0.00                   FA

14        1995 Dodge Intrepid                                                    800.00                            0.00             DA                      0.00                   FA

15        1995 Chevy Truck 4x4                                                   200.00                            0.00             DA                      0.00                   FA

16        J. Deere 5303 Tractor                                               9,400.00                             0.00             DA                      0.00                   FA

17        Miscellaneous tools                                                    100.00                            0.00             DA                      0.00                   FA

18        J.D. Lawn Mower                                                        200.00                            0.00             DA                      0.00                   FA

19        5 cemetery lots                                                     1,500.00                             0.00             DA                      0.00                   FA

20        Bicycle                                                                 10.00                            0.00             DA                      0.00                   FA

21        Gas Grill                                                              100.00                            0.00             DA                      0.00                   FA

22        Torches                                                                150.00                            0.00             DA                      0.00                   FA

23        Potential Tax Refund                                                5,433.00                             0.00             DA                      0.00                   FA
            amended 7/10/09 to include asset and exemption

 Int      INTEREST (u)                                                       Unknown                               N/A                                      0.19                   FA

 24       Assets         Totals (Excluding unknown values)                $270,166.00                         $4,500.00                                $1,500.19                $0.00


       RE PROP# 9           Per order December 04, 2009 trustee to be paid $1500 for interest in asset and trustee to pay $1.00



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                                                                                Form 1                                                                                       Page: 2

                                          Individual Estate Property Record and Report
                                                           Asset Cases
Case Number: 09-48174-MBM                                                                Trustee:         (420470)        Timothy J. Miller
Case Name:       IOTT, KEVIN ROLAND                                                      Filed (f) or Converted (c): 03/19/09 (f)
                 IOTT, LAURA SUE                                                         §341(a) Meeting Date:            05/13/09
Period Ending: 03/23/12                                                                  Claims Bar Date:                 11/14/10

                                1                                        2                            3                           4                5                   6

                    Asset Description                               Petition/             Estimated Net Value                  Property        Sale/Funds         Asset Fully
         (Scheduled And Unscheduled (u) Property)                 Unscheduled        (Value Determined By Trustee,            Abandoned        Received by     Administered (FA)/
                                                                     Values             Less Liens, Exemptions,               OA=§554(a)        the Estate      Gross Value of
Ref. #                                                                                      and Other Costs)                  DA=§554(c)                       Remaining Assets


                       exemption to the Debtors.
                       Payment from Fifth Third Bank received August 18, 2010 in the amount of $4500.00. This estate and
                       two other bankruptcy estates have equal one-third interests ($1,500.00 each) in the proceeds.
                       Therefore, from the $4,500.00 in proceeds, the sum of $1,500.00 will be paid from this estate to the
                        estate of Randal and Kimberly LaRocca no. 09-48185 and the sume of $1,500.00 will be paid to the
                       estate of Benjamin and Cynthia LaRocca no. 09-48181.
     RE PROP# 10       Interest under investigation.
     RE PROP# 13       Interest under investigation.



     Major Activities Affecting Case Closing:

                 Claims have been reviewed. The case is ready to be closed.

     Initial Projected Date Of Final Report (TFR):     November 29, 2010                    Current Projected Date Of Final Report (TFR):        January 27, 2012 (Actual)




               March 23, 2012                                                                      /s/ Timothy J. Miller
          __________________________                                                               _________________________________________________________________
                         Date                                                                      Timothy J. Miller




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                                                                                                                                                                                     Exhibit 9


                                                                                      Form 2                                                                                         Page: 1

                                                      Cash Receipts And Disbursements Record
Case Number:           09-48174-MBM                                                                    Trustee:            Timothy J. Miller (420470)
Case Name:             IOTT, KEVIN ROLAND                                                              Bank Name:          The Bank of New York Mellon
                       IOTT, LAURA SUE                                                                 Account:            9200-******26-65 - Money Market Account
Taxpayer ID #:         **-***8884                                                                      Blanket Bond:       $2,000,000.00 (per case limit)
Period Ending: 03/23/12                                                                                Separate Bond: N/A

   1             2                              3                                      4                                               5                    6                    7

 Trans.    {Ref #} /                                                                                                                Receipts        Disbursements           Money Market
  Date     Check #              Paid To / Received From              Description of Transaction                   T-Code               $                  $                Account Balance
08/18/10                     Fifth Third Bank                Per order December 04, 2009 trustee to be                                                       -4,500.00               4,500.00
                                                             paid $1500 for interest in asset.
                                                             Payment from Fifth Third Bank received August
                                                             18, 2010 in the amount of $4500.00. This
                                                             estate and two other bankruptcy estates have
                                                             equal one-third interests ($1,500.00 each) i
               {9}                                              33% Interest in Real               -1,500.00      1129-000                                                           4,500.00
                                                                Property
                                Randel La Rocca                 Funds Transferred to               -1,500.00      8500-002                                                           4,500.00
                                                                Randel LaRocca p/o
                                                                12/4/09
                                                                Transfer of fund to                -1,500.00      8500-002                                                           4,500.00
                                                                Benjamin LaRocca p/o
                                                                12/4.2009
08/24/10                     To Account #9200******2666      transfer to checking to P/O 12/4/09                  9999-000                                      3,000.00             1,500.00
08/31/10         Int         The Bank of New York Mellon     Interest posting at 0.0700%                          1270-000                   0.05                                    1,500.05
09/07/10                     To Account #9200******2666      transfer to checking for court reporting fees        9999-000                                        70.00              1,430.05
09/30/10         Int         The Bank of New York Mellon     Interest posting at 0.0100%                          1270-000                   0.01                                    1,430.06
10/28/10                     To Account #9200******2666      transfer to checking for Court reporting fees        9999-000                                        70.00              1,360.06
10/29/10         Int         The Bank of New York Mellon     Interest posting at 0.0100%                          1270-000                   0.01                                    1,360.07
12/31/10         Int         The Bank of New York Mellon     Interest posting at 0.0100%                          1270-000                   0.01                                    1,360.08
01/31/11         Int         The Bank of New York Mellon     Interest posting at 0.0100%                          1270-000                   0.01                                    1,360.09
02/28/11         Int         The Bank of New York Mellon     Interest posting at 0.0100%                          1270-000                   0.01                                    1,360.10
03/31/11         Int         The Bank of New York Mellon     Interest posting at 0.0100%                          1270-000                   0.01                                    1,360.11
05/31/11         Int         The Bank of New York Mellon     Interest posting at 0.0100%                          1270-000                   0.01                                    1,360.12
06/30/11         Int         The Bank of New York Mellon     Interest posting at 0.0100%                          1270-000                   0.01                                    1,360.13
07/29/11         Int         The Bank of New York Mellon     Interest posting at 0.0100%                          1270-000                   0.01                                    1,360.14
08/01/11                     The Bank of New York Mellon     Bank and Technology Services Fee                     2600-000                                         2.61              1,357.53
08/31/11         Int         The Bank of New York Mellon     Interest posting at 0.0100%                          1270-000                   0.01                                    1,357.54
08/31/11                     The Bank of New York Mellon     Bank and Technology Services Fee                     2600-000                                        25.00              1,332.54
09/30/11         Int         The Bank of New York Mellon     Interest posting at 0.0100%                          1270-000                   0.01                                    1,332.55
09/30/11                     The Bank of New York Mellon     Bank and Technology Services Fee                     2600-000                                        25.00              1,307.55
10/31/11         Int         The Bank of New York Mellon     Interest posting at 0.0100%                          1270-000                   0.01                                    1,307.56
10/31/11                     The Bank of New York Mellon     Bank and Technology Services Fee                     2600-000                                        25.00              1,282.56
11/30/11         Int         The Bank of New York Mellon     Interest posting at 0.0100%                          1270-000                   0.01                                    1,282.57
11/30/11                     The Bank of New York Mellon     Bank and Technology Services Fee                     2600-000                                        25.00              1,257.57
12/30/11         Int         The Bank of New York Mellon     Interest posting at 0.0100%                          1270-000                   0.01                                    1,257.58
12/30/11                     The Bank of New York Mellon     Bank and Technology Services Fee                     2600-000                                        25.00              1,232.58

                                                                                                        Subtotals :                        $0.19            $-1,232.39
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{} Asset reference(s)                               Doc 80   Filed 03/30/12                  Entered 03/30/12 16:24:33                              Page
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                                                                                   Form 2                                                                                         Page: 2

                                                      Cash Receipts And Disbursements Record
Case Number:           09-48174-MBM                                                                 Trustee:            Timothy J. Miller (420470)
Case Name:             IOTT, KEVIN ROLAND                                                           Bank Name:          The Bank of New York Mellon
                       IOTT, LAURA SUE                                                              Account:            9200-******26-65 - Money Market Account
Taxpayer ID #:         **-***8884                                                                   Blanket Bond:       $2,000,000.00 (per case limit)
Period Ending: 03/23/12                                                                             Separate Bond: N/A

   1             2                           3                                       4                                              5                    6                    7

 Trans.    {Ref #} /                                                                                                             Receipts        Disbursements           Money Market
  Date     Check #              Paid To / Received From            Description of Transaction                  T-Code               $                  $                Account Balance
01/24/12         Int         The Bank of New York Mellon   Current Interest Rate is 0.0100%                    1270-000                   0.00                                    1,232.58
01/24/12                     To Account #9200******2666    transfer to checking for final report               9999-000                                      1,232.58                0.00

                                                                                  ACCOUNT TOTALS                                          0.19                  0.19                $0.00
                                                                                          Less: Bank Transfers                            0.00               4,372.58
                                                                                  Subtotal                                                0.19            -4,372.39
                                                                                          Less: Payments to Debtors                                             0.00
                                                                                  NET Receipts / Disbursements                          $0.19            $-4,372.39




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{} Asset reference(s)                            Doc 80    Filed 03/30/12                    Entered 03/30/12 16:24:33                           Page
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                                                                                     Form 2                                                                                           Page: 3

                                                      Cash Receipts And Disbursements Record
Case Number:         09-48174-MBM                                                                       Trustee:            Timothy J. Miller (420470)
Case Name:           IOTT, KEVIN ROLAND                                                                 Bank Name:          The Bank of New York Mellon
                     IOTT, LAURA SUE                                                                    Account:            9200-******26-66 - Checking Account
Taxpayer ID #:       **-***8884                                                                         Blanket Bond:       $2,000,000.00 (per case limit)
Period Ending: 03/23/12                                                                                 Separate Bond: N/A

   1             2                             3                                        4                                               5                    6                    7

 Trans.    {Ref #} /                                                                                                                 Receipts        Disbursements             Checking
  Date     Check #            Paid To / Received From                  Description of Transaction                  T-Code               $                  $                Account Balance
08/24/10                   From Account #9200******2665      transfer to checking to P/O 12/4/09                   9999-000              3,000.00                                     3,000.00
08/24/10     101           Bankruptcy Estate of Benjamin &   Amount owed to estate from Fifth Third p/o            8500-002                                      1,500.00             1,500.00
                           Cynthia LaRocca                   12/4/09
08/24/10     102           Bankruptcy Estate of Randal &     amount owed to estate from Fifth Third p/o            8500-002                                      1,500.00                0.00
                           Kimberly LaRocca                  12/4/09
09/07/10                   From Account #9200******2665      transfer to checking for court reporting fees         9999-000                 70.00                                       70.00
09/07/10     103           Luzod Reporting Service           court reporting services 8/30/10 invoice              3992-000                                        70.00                 0.00
                                                             #052380
10/28/10                   From Account #9200******2665      transfer to checking for Court reporting fees         9999-000                 70.00                                       70.00
10/28/10     104           Luzod Reporting Service           reporting service on 10/20/10 invocie #068557         3991-000                                        70.00                 0.00
01/24/12                   From Account #9200******2665      transfer to checking for final report                 9999-000              1,232.58                                     1,232.58
03/12/12     105           Kevin and Laura Iott              Dividend paid 100.00% on $1.00; Claim# 10;            8100-000                                         1.00              1,231.58
                                                             Filed: $1.00; Reference:
03/12/12     106           Timothy J. Miller                 Dividend paid 79.45% on $375.05, Trustee              2100-000                                       297.99               933.59
                                                             Compensation; Reference:
03/12/12     107           Timothy J. Miller                 Dividend paid 79.45% on $85.00, Trustee               2200-000                                        67.54               866.05
                                                             Expenses; Reference:
03/12/12     108           Schneider Miller, P.C.            Dividend paid 79.45% on $1,000.00, Attorney           3110-000                                       794.54                71.51
                                                             for Trustee Fees (Trustee Firm); Reference:
03/12/12     109           Schneider Miller, P.C.            Dividend paid 79.45% on $90.00, Attorney for          3120-000                                        71.51                 0.00
                                                             Trustee Expenses (Trustee Firm); Reference:

                                                                                    ACCOUNT TOTALS                                       4,372.58                4,372.58               $0.00
                                                                                            Less: Bank Transfers                         4,372.58                   0.00
                                                                                    Subtotal                                                  0.00               4,372.58
                                                                                            Less: Payments to Debtors                                               1.00
                                                                                    NET Receipts / Disbursements                            $0.00            $4,371.58



                                                                                                                                           Net                Net                  Account
                                                                                    TOTAL - ALL ACCOUNTS                                 Receipts        Disbursements             Balances

                                                                                    MMA # 9200-******26-65                                    0.19            -4,372.39                  0.00
                                                                                    Checking # 9200-******26-66                               0.00               4,371.58                0.00

                                                                                                                                            $0.19                  $-0.81               $0.00




                  March 23, 2012                                                            /s/ Timothy J. Miller
           __________________________                                                       _________________________________________________________________
                              Date                                                          Timothy J. Miller



                09-48174-swr
{} Asset reference(s)                              Doc 80    Filed 03/30/12                  Entered 03/30/12 16:24:33                             Page
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